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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

CATHERINE HILL,

 Plaintiff,                                   Case No. 8:15-cv-01264-RAL-AEP


 v.

DFS SERVICES, LLC,

 Defendant.
 _____________________________/

                                   NOTICE OF SETTLEMENT
       Plaintiff hereby notifies the Court that the parties have reached a settlement in principle in
this action. Upon full execution of a settlement agreement and compliance with all terms set forth
therein, this matter will be dismissed, with prejudice.


                                              RESPECTFULLY SUBMITTED,


                                              /s/ Jon Dubbeld________________
                                              Jon Dubbeld, Esq.
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                                              Suite 101
                                              Trinity, FL 34655
                                              (813) 221-0500
                                              (813) 943-3203 (FAX)
                                              Counsel for Plaintiff

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 16, 2015, I electronically filed the foregoing with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
all counsel of record in the above-captioned case.

                                              /s/ Jon Dubbeld
